 4:00-cr-00355-RGK-FG3               Doc # 199       Filed: 07/12/07   Page 1 of 1 - Page ID # 8




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )       Case No. 4:00CR355
                                                 )
                        Plaintiff,               )             ORDER
                                                 )       TO WITHDRAW EXHIBITS
              vs.                                )       OR TO SHOW CAUSE WHY
                                                 )       EXHIBITS SHOULD NOT BE
NEBRASKA BEEF, INC., et al.,                     )            DESTROYED
                                                 )
                        Defendants.              )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for parties shall either 1)

withdraw the following exhibits previously submitted in this matter within 15 calendar days

of the date of this order, or 2) show cause why the exhibits should not be destroyed:

              Motions hearing held on 2/25/02

              Government Exhibit Nos. 15-23, 25-26

              Defendant Mario Villarreal-Carrillo, defendant Julian Martinez, defendant Tony N.

Joy, defendant Nebraska Beef, Ltd., defendant Nebraska Beef, Inc., defendant Kim V. Nguyen

Exhibit Nos. 1-14, 24

       If counsel fail to withdraw these exhibits as directed or to show cause why the

exhibits should not be destroyed, the clerk’s office is directed to destroy the listed exhibits

without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       DATED this 12th day of July, 2007.



                                                                s/ Richard G. Kopf
                                                                United States District Judge
